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 4                              UNITED STATES DISTRICT COURT
 5                             EASTERN DISTRICT OF WASHINGTON
 6
 7    UNITED STATES OF AMERICA,
                                               NO. 2:16-CR-00028-JLQ-1
 8                Plaintiff,                   NO. 2:16-CR-00028-JLQ-3
                                               NO. 2:16-CR-00028-JLQ-4
 9                v.
                                               ORDER RE: MOTION FOR
10                                             PROTECTIVE ORDER
11    SOUHA YAZBEK,
      SHAWN W. FITZGERALD, and
12    RAQUEL J. CALLOWAY,

13                Defendants.

14           BEFORE THE COURT is the Government’s Motion for Protective Order (ECF No.
15   64) and Motion to Expedite (ECF No. 65). The Motion for Protective Order seeks to set
     parameters for the “dissemination of discovery materials, and the sensitive information
16
     contained therein.” (ECF No. 64, p. 1). The Motion states that the discovery includes
17   personal information of alleged victims, including Social Security numbers, bank account
18   information, and other personal identifying information.
19           The Motion to Expedite does not fully comply with Local Rule 7.1(h). It fails to
     state the position of the opposing party. Defendant Yazbek has filed a Response stating
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     that she has no opposition to the Motion for Protective Order or Motion to Expedite. (ECF
21   No. 67). As reason for the expedited hearing, the Motion cites the “Government’s desire
22   to initiate the discovery process for all defendants in a conscientious and efficient
23   manner.” (ECF No. 64, p. 4). The court is concerned this statement implies discovery has
     not commenced. As to two of the three above Defendants, a Scheduling Order was
24
     entered on June 17, 2016. The Scheduling Order stated: “All discovery shall be furnished
25   forthwith.” (ECF No. 41). Trial in these matters is set for August 22, 2016. As to
26   Defendant Yazbek, a Scheduling Order was entered on June 22, 2016, which also directed


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 1 that all discovery be furnished forthwith. (ECF No. 56).
 2        The court has reviewed the Motion and proposed Order, and finds good cause for
   entry of a protective order. The proposed language does not appear to unnecessarily
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   burden the Defendants’ access to the materials, as “client, office staff, investigators,
 4 independent paralegals, necessary third-party vendors, consultants, and/or anticipated fact
 5 or expert witnesses” are allowed access to the materials as “necessary to assist in the
 6 defense”. (ECF No. 64-1, ¶ 3). The court adopts the Government’s proposed language
   with slight modification.
 7
          IT IS HEREBY ORDERED:
 8
          1. The Government’s Motion to Expedite (ECF No. 65) is GRANTED. The
 9
   Government’s Motion for Protective Order (ECF No. 64) is GRANTED.
10
11        2. The Government is authorized to disclose the discovery and sensitive

12 information materials (hereinafter “Discovery”) in its possession pursuant to the discovery
13 obligations imposed by this Court.
14          3. Government personnel and counsel for Defendants shall not provide, or make
15 available, the Discovery to any person except as specified in this Order or by approval
16 from this Court. Therefore, defense counsel and the Government shall restrict access to
17 the Discovery, and shall only disclose the Discovery to their client, office staff,
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     investigators, independent paralegals, necessary third-party vendors, consultants, and/or
19
     anticipated fact or expert witnesses to the extent that defense counsel believes is necessary
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     to assist in the defense of their client in this matter or that the Government believes is
21
     necessary in the investigation and prosecution of this matter.
22
            4. Third parties contracted by the United States or defense counsel to provide
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24 expert analysis or testimony may possess and inspect the Discovery, but only as necessary
25 to perform their case-related duties or responsibilities in this matter. Third parties shall be
26 provided a copy this Order.


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 1          5. Discovery in this matter will be made available to defense counsel via access to a
 2 case file on USA File Exchange. If necessary to review discovery with their respective
 3 clients, defense counsel may download the discovery and duplicate only once. Discovery
 4 materials may not be left in the possession of the defendants. In order to provide
 5 discovery to a necessary third-party vendor, consultant, and/or anticipated fact or expert
 6
     witness, defense counsel may duplicate the discovery only once. No other copies shall be
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     made, by defense counsel or the defendants, without prior approval from this Court.
 8
            6. To the extent that defense counsel makes any portion of the Discovery available
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     in paper format to anyone, including their clients, outside of counsel’s office, defense
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     counsel shall ensure that any and all sensitive information is redacted or removed. Such
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12 redaction/removal shall include, but shall not be limited to, the following: (a) all Social
13 Security, identification card, driver’s license, birth certificate, and taxpayer identification
14 numbers; (b) all business and employer names, locations, addresses, as well as salary
15 information; (c) residential and business addresses; (d) all dates of birth, organ donor
16 information, telephone numbers, and email addresses; (e) all lease, bill, or other payment
17 amounts; and (f) all information identifying the contents and routing and account
18 number(s) of any financial account, including bank, trust, and retirement account(s).
19      7. All counsel of record in this matter, including counsel for the United States, shall
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     ensure that any party, including the defendants, that obtains access to the Discovery is
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     provided a copy of this Order. No other party that obtains access to or possession of the
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     Discovery shall retain such access or possession unless authorized by this Order, nor
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     further disseminate the Discovery except as authorized by this Order. Any other party that
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     obtains access to, or possession of, the Discovery once the other party no longer requires
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26 access to or possession of the Discovery shall promptly destroy or return the Discovery


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 1 once access to Discovery is no longer necessary. For purposes of this Order, “other party”
 2 is any person other than counsel for the United States, counsel for defendants, or the
 3 defendants.
 4         8. All counsel of record, including counsel for the United States, shall keep a list to
 5 identify each person to whom the Discovery is disclosed and who was advised of the
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   requirements of this Order. Neither counsel for each of the defendants, nor the counsel for
 7
   the United States, shall be required to disclose this list of persons unless so ordered to do
 8
   so by the Court.
 9
          9. Upon entry of a final order of the Court in this matter and conclusion of any
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   direct appeals, government personnel and counsel for defendants shall retrieve and destroy
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12 all copies of the Discovery, except that counsel and government personnel may maintain
13 copies in their closed files following their customary procedures.
14         10. Government personnel and counsel for Defendants shall promptly report to the
15 Court any known violations of this Order.
16         IT IS SO ORDERED. The District Court Clerk is hereby directed to enter this
17 Order and provide copies to counsel.
18         DATED this 14th day of July 2016.
19
20                                   s/ Justin L. Quackenbush
                                   JUSTIN L. QUACKENBUSH
21                           SENIOR UNITED STATES DISTRICT JUDGE
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